The plaintiff moved the court to re-hear upon the ground in the first named case, that there was error in the judgment and decision aforesaid in this, that although the county of Stokes is not liable on *Page 287 
the note, yet it is liable on the implied contract to repay the       (375) money borrowed by Poindexter, to whose rights, on payment of the $500, the plaintiff, Davis, was subrogated pro tanto, which it received and appropriated to its own use, and that use held not to be an unlawful one."
That in the second case, "there was error in the judgment and decision aforesaid in this, that although the county of Stokes is not liable on the note, yet it is liable on the implied contract to repay the plaintiff's money which it received and appropriated to its own use, and that use held not to be an unlawful one.
For a further statement of the facts, see the report of the cases in72 N.C. 241, and the opinion of the court therein.
We have with care considered what we said, and examined the authorities cited upon the rehearing. (See same case reported in 72 N.C. 441.) And we do not see the alleged error.
In Poindexter v. Davis, 67 N.C. 112, cited by the plaintiff, the liability of the county was not involved; but the liability of the present plaintiff, who was then defendant as surety of the county.
And when it is remembered that a county may be liable when the principal is not, it will be seen that that case has nothing to do with this, which involves the liability of the county alone. In the opinion delivered in this case upon the first hearing, it is illustrated how a surety may be liable when the principal is not: surety of infant, feme covert, a county undertaking to build a church, etc.
But now it is insisted, that although the county was not liable upon the bond to Poindexter, because it was ultra vires, yet, inasmuch as the county actually received the money and applied it to       (376) county purposes; and inasmuch as the plaintiff, as surety, has paid the debt for the county, there is a moral obligation upon the county to pay, and an implied promise that it will pay.
It is the duty of a county to support its poor and to levy taxes for that purpose; but it has no power to borrow money and give its bonds for that purpose, (as we will suppose for the sake of the argument,) and a suit upon such bond would fail. But if the county received the money and used it for the support of the poor, the plaintiff has cited very respectable authority that the county would be liable upon an implied contract. Let it be admitted that it would be liable. But it is not the duty of a county to build churches, and if the county board were *Page 288 
to borrow money, with or without a bond, for such purpose, the county would not be liable in any form.
The want of attention to that distinction has led the plaintiff into error. The board is the agent of the county to support the poor, but is not its agent to build churches, although the building of churches is not infected with any turpitude. But if the board borrows money, either to support the poor or to build a church, and gives its bond, with A B as surety, then the surety is liable whether the board is or not.
Apply these principles to our case. The County Court of Stokes borrowed money of the bank to aid the rebellion — was it the duty of the county to pay that debt? Of course not. Could the bank have made the county pay it? Of course not. When therefore the County Court subsequently borrowed money and gave its bond to pay that debt, it simply did what it had no power to do, and therefore the county was not bound upon an implied contract, as it might have been if the money had been applied to something that the county was obliged to do — as to support the poor. But still, the plaintiff by becoming surety on the bond, acting for himself and not as agent for a county, became liable to Poindexter, who loaned his money for no illegal purpose. (377)  And now, as we said in the former opinion, "when the plaintiff calls upon the people of Stokes County to reimburse or indemnify him, they have the right to answer that he was not their surety, that the County Court was not their agent to contract that debt, and therefore they are not liable.
And so we have to repeat what we said in our former opinion, that notwithstanding the hardship upon the plaintiff and the shame upon the defendants, the decision must stand.
PER CURIAM.                        Petition to re-hear dismissed.
Cited: Womble v. Comrs., 74 N.C. 422; Daniel v. Comrs., 74 N.C. 500.